                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  STATE OF TENNESSEE, et al.,                      )
                                                   )
        Plaintiffs,                                )          Case No. 3:24-cv-224
                                                   )
  v.                                               )          Judge Atchley
                                                   )
  EQUAL EMPLOYMENT OPPORTUNITY                     )          Magistrate Judge Poplin
  COMMISSION, et al.,                              )
                                                   )
        Defendants.                                )


                                              ORDER

        Before the Court is Plaintiffs’ Consent Motion to Set Briefing Schedule on Plaintiffs’

 Motion for Preliminary Relief. [Doc. 19]. Plaintiffs intend to seek a preliminary injunction and

 request that the Court issue a briefing schedule on their forthcoming motion. [Id. at 2]. Plaintiffs

 conferred with Defendants regarding a briefing schedule, and the parties agree as to the proposed

 schedule. [Id.]. Based on the parties’ agreement, Plaintiffs’ Consent Motion [Doc. 19] is

 GRANTED. Plaintiffs’ motion for preliminary injunction shall proceed under the following

 briefing schedule:

        Plaintiffs’ Motion for Preliminary Injunction Due:            May 31, 2024

        Defendants’ Response Brief Due:                               June 21, 2024

        Plaintiffs’ Reply Brief Due:                                  July 2, 2024

        SO ORDERED.

                                               /s/ Charles E. Atchley, Jr.  c
                                               CHARLES E. ATCHLEY, JR.
                                               UNITED STATES DISTRICT JUDGE




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